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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE


  ROCKWELL AUTOMATION, INC., :
                                 :
                      Plaintiff, :
           v.                    :         C.A. No. 21-1238-GBW-JLH
                                 :
                                 :         JURY DEMAND
  PARCOP S.R.L. d/b/a            :
  WIAUTOMATION,                  :
                                 :
                      Defendant. :


  PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION FOR LEAVE TO
      FILE A SUR-REPLY BRIEF IN OPPOSITION TO PLAINTIFF’S
                MOTION FOR SUMMARY JUDGMENT
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  I.    DEFENDANT’S CONTINUED COUNTERFEITING RESULTED IN
        HIGHLY RELEVANT NEW EVIDENCE
        Not once does Defendant deny that the products it delivers to customers

  bearing Rockwell’s marks are not counterfeit, nor could it. Instead, Defendant

  simply wishes the Court would disregard the countless examples of Defendant’s

  counterfeit products brought to light by Rockwell.           The latest example of

  Defendant’s counterfeiting, occurring just weeks ago, is highly relevant to

  Rockwell’s claims and should be considered.

        Rockwell learned of the latest “instance of WiAutomation’s misconduct” on

  April 4, 2023—days after Defendant filed its opposition brief and while Rockwell

  was preparing its reply brief. See D.I. 224, Ex. 10. The date of this evidence

  demonstrates that Defendant’s allegation that Rockwell “reserved” material for its

  reply brief is misplaced—Rockwell could not have brought the counterfeiting

  evidence to the Court’s attention in its opening brief because it had not yet occurred.

  Last, Defendant’s argument that Rockwell “left WiAutomation without any ability

  to respond” ignores that, according to the briefing schedule, Defendant had no set

  opportunity to respond after March 31 regardless.

        While Rockwell does not object to the Court considering Sections I-III of

  Defendant’s sur-reply regarding the merits of this new evidence, Defendant’s

  arguments in those sections are similarly misplaced.




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         The well-founded product authenticity inquiries, complaints and related

  information received by Rockwell from Defendant’s defrauded customer Syntegon

  are not hearsay. Upon receiving the counterfeit products from Defendant, Syntegon

  informed a Rockwell employee, Christoph Bank, about the sale of counterfeit

  products. Mr. Bank subsequently spoke with Rockwell employee Anna Barbacka

  and Rockwell’s Global Director of Revenue and Brand Protection, Ryan Smaglik

  about the issue and Messrs. Smaglik and Bank and Ms. Barbacka investigated the

  counterfeit nature of the products that Defendant delivered to Syntegon.

         Within days of first receiving news of Defendant’s sale of counterfeit goods

  to Syntegon, Rockwell disclosed this information to Defendant. First, Rockwell

  included the documents and information in a declaration from Mr. Smaglik filed in

  support of Rockwell’s summary judgment reply brief on April 10. (D.I. 223-224.)

  Second, on April 27, Rockwell served supplemental interrogatory responses and

  supplemental initial disclosures on Defendant pursuant to Rule 26(e), wherein

  Rockwell again disclosed this information and identified Ms. Barbacka and Messrs.

  Smaglik and Bank as trial witnesses, given their role in the Syntegon investigation.1

  (D.I. 249.) At trial, those Rockwell employees would speak directly about their first-




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      Given Mr. Smaglik’s role as Rockwell’s Global Director of Revenue and Brand
  Protection, Rockwell first identified him in its Rule 26(a) initial disclosures served
  on February 18, 2022. (D.I. 24.).

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  hand perceptions of Syntegon and their investigation of Defendant’s counterfeit

  products. See, e.g., Citizens Financial Group, Inc. v. Citizens Nat. Bank of Evans

  City, 383 F.3d 110, 133 (3d Cir. 2004) (Employees’ testimony about their experience

  with confused customers is not hearsay and is otherwise admissible under Fed. R.

  Evid. 803(3) as permitted statements of existing state of mind.)

        Relatedly, Mr. Smaglik’s declaration explaining his investigation of the

  counterfeit products Defendant delivered to Syntegon is very much given from his

  personal knowledge and perspective. A large part of Mr. Smaglik’s role at Rockwell

  is to investigate reports received by Rockwell of counterfeiters like Defendant and

  the counterfeit products that they pollute the market with. See D.I. 147 at ⁋⁋45-73.

  Mr. Smaglik’s receipt and investigation of Syntegon’s well-founded concerns as

  well as his related communications involving this incident are all first-hand

  accounts, which are entirely appropriate for consideration.

        Finally, the photographs of the counterfeit products delivered by Defendant

  to Syntegon are admissible and will be authenticated at trial. As discussed above,

  Rockwell’s Mr. Bank and Ms. Barbacka (who received the photographs from

  Syntegon) have been identified as potential trial witnesses and can testify about the

  photographs they received from Syntegon. Moreover, Rockwell is in the process of

  acquiring the physical counterfeit products Defendant delivered to Syntegon and,

  upon receipt, will make them available for inspection. Likewise, any new evidence


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  surrounding this event received by Rockwell will be produced to Defendant

  expeditiously.2 On the other hand, however, Rockwell has requested Defendant’s

  records surrounding its acquisition and sale of counterfeit products to Syntegon, but

  Defendant has flatly refused to provide them, in keeping with its conduct throughout

  this case.

            In sum, all of the examples of Defendant’s unrelenting counterfeiting,

  including most recently from Syntegon, are highly relevant to a full understanding

  of Defendant’s business model and its intentional disregard for Rockwell’s

  trademark rights and the health and safety of the unsuspecting victims receiving

  Defendant’s counterfeit goods and, thus, should be considered in connection with

  Rockwell’s claims.

  II.       ROCKWELL’S REPLY ADDRESSED NEW FACTUAL MATTER
            IMPROPERLY PRESENTED IN DEFENDANT’S RESPONSE
            Defendant opted to not file its own Concise Statement of Material Facts in

  support of its Response brief in a transparent attempt to try to deny Rockwell a forum

  to reply to new factual matter in Defendant’s Response to Rockwell’s Statement of

  Material Facts. Rockwell’s Reply is proper because it responds to this new factual

  matter which, according to the Court’s rules, should have been filed in Defendant’s


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       Rockwell intends to move for leave to reopen the discovery record for the
  limited purpose of supplementing Rockwell’s discovery responses and production
  to include the documents relating to Defendant’s recent sale of counterfeit goods to
  Syntegon.

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  own separate concise statement. Had Defendant done so, there would be no dispute

  that Rockwell’s Reply is in accordance with the Court’s rules, and Defendant’s

  strategic choice to introduce new facts into its Response to Rockwell’s concise

  statement should not serve to elevate form over substance.

        The Court’s form scheduling order provides that “[t]he party opposing the

  motion [for summary judgment] may also include with its opposing papers a separate

  concise statement . . . which sets forth material facts as to which the opposing party

  contends there is a genuine issue to be tried.” Rule 16 Form Scheduling Order for

  Non-Patent Cases, ¶ 9(b). By doing so, the opposing party then affords the moving

  party an opportunity in its reply papers to include “a response to the opposing party’s

  concise statement of facts” and if the moving party fails to do so, that “shall indicate

  that fact remains in dispute for purposes of summary judgment.” Id.

        Defendant’s “Response” to Rockwell’s SMF raised new factual arguments

  and disputed facts. See D.I. 187, ⁋⁋2, 5-8, 10, 11, 13-21, and 25-30. For example,

  D.I. 187, ⁋6 introduces a new purported “fact” about value added resellers that is not

  tied to Rockwell’s SMF6, related to Rockwell’s limited distribution model. As

  another example, D.I. 187, ⁋7 introduces another new purported “fact” about value

  added resellers that is irrelevant to Rockwell’s SMF7, which discusses the qualities

  of goods received by customers in connection with sales from Rockwell or its

  authorized distributors. In yet another example, D.I. 187, ⁋25 introduces a new


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  purported “fact” about what information is available to members of the general

  public from Rockwell’s website, whereas Rockwell’s SMF25 relates to enrollment

  of Rockwell’s customers to receive product safety and recall notices. In another

  example, D.I. 187, ⁋26 introduces a new purported “fact” about Defendant’s

  purported quality control measures, but Rockwell’s SMF26 relates to entitlement to

  Rockwell’s post-manufacture quality control.

         These new arguments and alleged disputed facts are not appropriate for

  Defendant’s Response to Rockwell’s SMF; rather, the Court’s rules require that

  Defendant’s Response should “admit[] or dispute[] the facts set forth” in Rockwell’s

  SMF. Defendant’s Response goes further, injecting new “disputed” facts into its

  “Response” in order to paint Rockwell’s claims as inappropriate for summary

  judgment. Rockwell properly replied to Defendant’s Response by stating whether

  the new factual arguments were admitted or disputed. D.I. 223. Accordingly,

  Defendant’s motion for leave to file a sur-reply on the issue of Rockwell’s Reply to

  Defendant’s “Response” to Rockwell’s SMF (D.I. 247-2, §IV) should be denied or

  the argument therein should otherwise be dismissed.

  III.   CONCLUSION
         For all the foregoing reasons, Rockwell respectfully submits that the evidence

  of Defendant’s recent delivery of counterfeit products is highly relevant and

  appropriate for the Court to consider and respectfully requests that the Court deny



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  Defendant’s motion for leave to file a sur-reply on the issue of Rockwell’s Reply to

  Defendant’s fact-laden “Response” to Rockwell’s SMF (D.I. 247-2, §IV).

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   Dated: May 5, 2023


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                       WORD COUNT CERTIFICATION

        The undersigned hereby certifies that Plaintiff’s Response to Defendant’s

  Motion for Leave to File a Sur-Reply Brief in Opposition to Plaintiff’s Motion for

  Summary Judgment contains 1,377 words (exclusive of the cover page, tables of

  contents, authorities, and exhibits, and signature block), in Times New Roman

  14-point font, counted using Microsoft Word’s word count feature.


                                           /s/ Dominick T. Gattuso
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